
— The parties having stipulated in writing that this ease may be disposed of by a court of four, the decision is as follows: Order modified in each case by eliminating the amount added to valuation of relator’s land for “ plottage ” on the westerly portion thereof found to be adequately improved; and as so modified unanimously affirmed, without costs, upon authority of People ex rel. Loeser &amp; Co. v. Goldfogle, Appeal No. 1 (ante, p.326), decided herewith. Findings of fact and conclusions of law contrary to this decision reversed as contrary to the evidence, and appropriate findings and conclusions made by this court. Present — Kelly, P. J., Manning, Young and Kapper, JJ. Settle order upon notice.
